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Summary of Deposit Sources
Church of the Invisible Hand
JPM Chase Total Business Checking, a/c 9038
Signer: FNU N
Time Period: January 2020 - April 2020
Deposit Source                            Count Total Deposited Percentage of Total
Ads Paying Media LLC                          2       $35,471.49       3.63%
B         ,L                                  1       $11,200.00       1.15%
Cash                                        211     $732,763.91       75.04%
Church of the Invisible Hand                  1       $19,670.00       2.01%
F                ,A                           1          $300.00       0.03%
F     ,C                                      1        $9,900.00       1.01%
H ,T         L.                               1       $14,000.00       1.43%
Ipro Consulting Firm LLC                      1       $12,800.00       1.31%
K ,B          A.                              1       $21,000.00       2.15%
Maker Unknown                                 4        $1,690.00       0.17%
N ,Y           G      TTE/F       F           1       $11,111.87       1.14%
O       ,B     J.                             2        $5,000.00       0.51%
O ,J                                          1       $24,594.57       2.52%
O     ,S     P.                               1       $35,000.00       3.58%
P         V      O    LLC                     1        $8,000.00       0.82%
Postal Money Order                            3        $3,000.00       0.31%
S        ,J    C                              1       $31,000.00       3.17%
Grand Total                                 234     $976,501.84      100.00%




Summary of Payees
Church of the Invisible Hand
JPM Chase Total Business Checking, a/c 9038
Signer: FNU N
Time Period: January 2020 - April 2020
Payee                                     Count   Total Paid    Percentage of Total
Bank Fee                                     36        -$759.40                0.08%
Cash                                          2        -$963.12                0.10%
Debit DDA - Check Charge                      1     -$61,146.32                6.26%
Freeman, Ian                                  8     -$92,080.00                9.43%
Freeman, Ian B.                              21    -$821,553.00               84.13%
Grand Total                                  68    -$976,501.84             100.00%




as of March 11, 2021
